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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF GEORGIA

   RONALD L. COX and                                   )
   REBECCA P. COX,                                     )
                                                       )
            Plaintiffs,                                )
                                                       )
  v.                                                   )   Civil Action No. 1:17-cv-03047-AT
                                                       )
   SMITH & NEPHEW, INC.,                               )
                                                       )
        Defendant.                                     )
                                                       )

                          PLAINTIFFS’ FIRST AMENDED COMPLAINT

       COME NOW, the Plaintiffs, Ronald L. Cox and Rebecca P. Cox, and file this, their

Complaint for damages against the Defendant, Smith & Nephew, Inc., and allege and state as

follows:

                                             JURISDICTION

       1.         Plaintiffs are, and at all times relevant to this action were, citizens and residents of the

State of Georgia with their place of residence located at 4098 Wyndam Hill Drive, Suwanee,

Georgia 30024.

       2.         Defendant Smith & Nephew, Inc. (“Smith & Nephew”) is, and at all times relevant to

this action was, a corporation organized and existing under the laws of the State of Tennessee, which

lists its principal office address as 1450 East Brooks Road, Memphis, Tennessee 38116 and may be

served with process through its registered agent, CT Corporation System, 289 S. Culver Street,

Lawrenceville, Georgia 30046.

       3.         Complete diversity of citizenship exists within the purview of 28 U.S.C. § 1332. At

all times relevant to this cause of action, the Plaintiff/Defendant had the requisite minimum contacts
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with the State of Georgia, and the amount in controversy in this action exceeds Seventy-Five

Thousand Dollars ($75,000.00) exclusive of interest and costs.

                              GENERAL CLAIMS FOR RELIEF

       4.      This is a strict products liability, negligence, and loss of consortium action arising out

of Defendant Smith & Nephew’s violations of various sections of the Federal Code of Regulations

and the damages suffered by Plaintiff Ronald L. Cox and his wife Rebecca P. Cox as a result thereof.

       5.      Defendant Smith & Nephew is a developer and manufacturer of joint replacement

systems. Since 2006, Defendant, Smith & Nephew, Inc. has manufactured, introduced and/or

delivered the Birmingham Hip Resurfacing System (hereinafter “BHR”) into the stream of interstate

commerce, including the state of Georgia. The BHR is a metal-on-metal hip resurfacing prosthesis.

It is comprised of the following two (2) components:

               a.      Birmingham Resurfacing Femoral Head; and

               b.      Birmingham Hip Resurfacing Acetabular Cup.

       6.      Before commercially distributing the BHR in the United States, federal law required

Defendant Smith & Nephew to submit an application for premarket approval (“PMA”) of the device

to the Secretary of Health and Human Services. On May 9, 2006, the Food and Drug Administration

(“FDA”) completed its review of Defendant Smith & Nephew’s PMA application for the BHR.

Based on the materials submitted by Defendant, Smith & Nephew, the FDA conditionally approved

the BHR for commercial distribution.

       7.      The conditional approval letter from the FDA stated that “[c]ommercial distribution

of a device that is not in compliance with these conditions is a violation of the [Food, Drug and

Cosmetic] act, [21 U.S.C. §§301, et seq.].”




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       8.       On or about December 17, 2007, Plaintiff Ronald L. Cox was admitted to Gwinnett

Medical Center in Lawrenceville, Gwinnett County, Georgia, for the purpose of undergoing a right

total hip arthroplasty by Gary A. Levengood, M.D. (a non-party herein). At the time of said surgery,

Dr. Levengood utilized and implanted the following components:

       a.       Smith & Nephew BHR Acetabular Cup, Size 60 mm; REF 74120160; LOT 078966;

       b.       Smith & Nephew Modular Femoral Head, Size 54 mm; REF 74122554; LOT 11000;

       c.       Smith & Nephew Modular Head Sleeve, Size 40 mm; REF 74222200; LOT
                07EW11882;

       d.       Smith & Nephew Synergy Standard Offset Porous Plus HA Femoral Component, Size
                14; REF 71309014; LOT 07FM11746A.

       9.       On or about June 13, 2016, laboratory results showed toxic levels of cobalt and

chromium present in Plaintiff’s blood from the metal-on-metal Smith & Nephew components

implanted on December 17, 2007.

       10.      On or about August 18, 2016, Plaintiff underwent a revision surgery at Northside

Hospital Forsyth for chronic debilitating right hip pain and metal toxicity. Said procedure was

performed by Charles A. DeCook, M.D. (a non-party herein) and consisted of revising all previously

placed hardware except for the Synergy Femoral Stem. The following components were utilized by

Dr. DeCook in the revision surgery:

       a.       DePuy Pinnacle 62 mm acetabular component;

       b.       DePuy Pinnacle +4 neutral 36 mm polyethylene acetabular liner;

       c.       Two 6.5 mm x 35 mm DePuy Pinnacle cancellous bone screws;

       d.       Smith & Nephew Oxinium 12/14 taper femoral head, size 36 mm L/+8.

       11.      During the revision surgery of August 18, 2016, it was discovered that, in addition to

the toxic levels of cobalt and chromium and chronic right hip pain, Plaintiff had developed a large

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psuedotumor and suffered deterioration of his anterior acetabulum wall as a result of the Smith &

Nephew metal-on-metal components.

                                 FIRST CLAIM FOR RELIEF

       STRICT PRODUCTS LIABILITY BASED ON VIOLATIONS OF 21 C.F.R.
        820.30(f) and (g); 21 C.F.R. 820.80 (c) and (d); 21 C.F.R. 820.100; 21 C.F.R.
                                           820.198

    12.        Plaintiffs herein incorporate, reassert and reallege the allegations set forth above in

paragraphs 1-11 by reference as if fully set forth herein below.

    13.        The BHR Acetabular Cup implanted in Plaintiff Ronald Cox on December 17, 2007,

was designed and/or manufactured in violation of the Federal Food, Drug and Cosmetic Act (“Act”)

and regulations promulgated pursuant to it.

    14.        At the time the BHR Acetabular Cup implanted in Plaintiff Ronald Cox on December

17, 2007 left the control of Defendant Smith & Nephew, it was unreasonably dangerous due to non-

compliance by Defendant Smith & Nephew with the Act, and the regulations promulgated pursuant

to it in one or more of the following ways:

               a.      Failed to accurately establish the in vivo life expectancy of the BHR, in
                       violation of 21 C.F.R. 820.30(f);

               b.      Failed to validate the anticipated wear of the acetabular cup prior to its
                       release into commercial distribution, in violation of 21 C.F.R. 820.30(g);

               c.      Failed to establish and maintain appropriate reliability assurance testing to
                       validate the BHR design both before and after its entry into the marketplace,
                       in violation of 21 C.F.R. 820.30 (g);

               d.      Failed to conduct adequate bio-compatibility studies to determine the BHR’s
                       latent propensity to effuse metallic contaminants into the human blood and
                       tissue;

               e.      Failed to identify the component discrepancy, in violation of 21 C.F.R.
                       820.80(c);



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                f.     Failed to capture the component discrepancy or defect during their Final
                       Acceptance Activities, in violation of 21 C.F.R. 820.80(d);

                g.     Failed to establish and maintain procedures for implementing corrective and
                       preventative action in response to, inter alia, complaints regarding the BHR,
                       returned BHR, and other quality problems associated with the BHR, in
                       violation of 21 C.F.R. 820.100;

                h.     Failed to appropriately respond to adverse incident reports that strongly
                       indicated the acetabular component was Malfunctioning [as defined in 21
                       C.F.R. 803.3], or otherwise not responding to its Design Objection Intent, in
                       violation of 21 C.F.R. 820.198;

                i.     Failed to conduct complete device investigations on returned BHR and
                       components, including the acetabular component, in violation of 21 C.F.R.
                       820.198; and/or

                j.     Continued to inject BHR into the stream of interstate commerce when it
                       knew, or should have known, that the acetabular component was
                       Malfunctioning [as defined in 21 C.F.R. 803.3] or otherwise not responding
                       to its Design Objective Intent.

       15.      As a direct and proximate result of Defendant Smith and Nephew’s violations of one

or more of these federal statutory and regulatory standards of care, a BHR acetabular cup was

implanted in Plaintiff Ronald Cox and failed, and such failure directly caused and/or contributed to

the severe and permanent injuries sustained and endured by Plaintiff Ronald Cox, as defined in 21

C.F.R. 803.3. As a direct result, Plaintiff Ronald Cox endured pain and suffering, including, but not

limited to, pseudotumor formation, chronic right hip pain, and toxic blood levels of cobalt and/or

chromium. Plaintiff Ronald Cox has required additional and debilitating surgeries and has incurred

significant medical expenses in the past and will incur additional medical expenses in the future;

both past and future wage loss; physical pain and suffering, both past and future; mental anguish and

emotional distress, both past and future.

       16.      This cause of action is based entirely on the contention that Defendant Smith &

Nephew violated federal safety statutes and regulations. Plaintiff does not bring the underlying

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action as an implied statutory cause of action, but rather he is pursuing parallel state common law

claims based upon Defendant Smith & Nephew’s violations of the applicable federal regulations.

        17.      Under Georgia law, Defendant, Smith & Nephew’s violations of the aforementioned

federal statutes and regulations establish a prima facie case of strict liability in tort.

        18.      Thus, under Georgia common law, a money damages remedy exists for violation of

the Act and regulations promulgated thereunder which results in an unreasonably dangerous product

proximately causing injuries, and there is no need for the Georgia Legislature to act in order to create

such a remedy.

        19.      The Act contains an express preemption provision, 21 U.S.C. §360(k), which in

relevant part states: “no state or political subdivision of a state may establish or continue in effect

with respect to a device intended for human use any requirement –(1) which is different from, or in

addition to, any requirement applicable under this Act [21 USCS §§301, et seq.] to the device, and

(2) which relates to the safety or effectiveness of the device or to any other matter included in a

requirement applicable to the device under this Act [21 USCS §§301, et seq.].”

        20.      The cause of action set forth in this Claim for Relief is not preempted by 21 U.S.C.

§306(k) because the violations alleged are all based on an exclusively federal statutory and

regulatory set of requirements which include no “requirement which is different from, or in addition

to, any requirement applicable under” the Act and regulations promulgated thereunder. See; Bausch

v. Stryker, 630 F.3d 546, 556 (7th Cir. 2010) (claims for negligence and strict products liability

relating to a Class III medical device were not expressly preempted by federal law to the extent they

were based on the defendants’ violations of federal law). As such, the claims set forth herein contain

requirements that are parallel to the Act and regulations promulgated thereunder.




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       21.      As a direct and proximate result of Defendant Smith & Nephew’s aforementioned

actions, Plaintiff Ronald Cox prays for judgment against Defendant Smith & Nephew in an amount

in excess of Seventy-Five Thousand Dollars ($75,000.00).

                                SECOND CLAIM FOR RELIEF

                     NEGLIGENCE BASED ON VIOLATIONS OF
        21 C.F.R. 820.30(f) and (g); 21 C.F.R. 820.80 (c) and (d); 21 C.F.R. 820.100;
                                      21 C.F.R. 820.198

       22.      Plaintiffs herein incorporate, reassert and reallege the allegations set forth above in

paragraphs 1-21 by reference as if fully set forth herein below.

       23.      The BHR acetabular cup implanted in Plaintiff Ronald Cox’s right hip on December

17, 2007 was designed and/or manufactured in violation of the Act and regulations promulgated to it.

       24.      It was the duty of Defendant Smith & Nephew to comply with the Act, and the

regulations promulgated pursuant to it, yet, notwithstanding this duty, Defendant Smith & Nephew

violated the Act in one or more of the following ways:

       a.       Failed to accurately establish the in vivo life expectancy of the BHR, in violation of
                21 C.F.R. 820.30(f);

       b.       Failed to validate the anticipated wear of the acetabular cup prior to its release
                into commercial distribution, in violation of 21 C.F.R. 820.30(g);

       c.       Failed to establish and maintain appropriate reliability assurance testing to validate
                the BHR design both before and after its entry into the marketplace, in violation of
                21 C.F.R. 820.30 (g);

       d.       Failed to conduct adequate bio-compatibility studies to determine the BHR’s
                latent propensity to effuse metallic contaminants into the human blood and
                tissue;

       e.       Failed to identify the component discrepancy, in violation of 21 C.F.R. 820.80(c);

       f.       Failed to capture the component discrepancy or defect during their Final
                Acceptance Activities, in violation of 21 C.F.R. 820.80(d);



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       g.       Failed to establish and maintain procedures for implementing corrective and
                preventative action in response to, inter alia, complaints regarding the BHR, returned
                BHR, and other quality problems associated with the BHR, in violation of 21 C.F.R.
                820.100;

       h.       Failed to appropriately respond to adverse incident reports that strongly indicated the
                acetabular component was Malfunctioning [as defined in 21 C.F.R. 803.3], or
                otherwise not responding to its Design Objection Intent, in violation of 21 C.F.R.
                820.198;

       i.       Failed to conduct complete device investigations on returned BHR and
                components, including the acetabular component, in violation of 21 C.F.R.
                820.198; and/or

       j.       Continued to inject BHR into the stream of interstate commerce when it knew, or
                should have known, that the acetabular component was Malfunctioning [as defined in
                21 C.F.R. 803.3] or otherwise not responding to its Design Objective Intent.

       25.      As a direct and proximate result of Defendant Smith and Nephew’s violations of one

or more of these federal statutory and regulatory standards of care, a BHR acetabular cup was

implanted in Plaintiff Ronald Cox and failed, and such failure directly caused and/or contributed to

the severe and permanent injuries sustained and endured by Plaintiff Ronald Cox, as defined in 21

C.F.R. 803.3. As a direct result, Plaintiff Ronald Cox endured pain and suffering, including, but not

limited to pseudotumor formation, chronic right hip pain, toxic blood levels of cobalt and

chromium, additional and debilitating surgery, significant past and future medical; both past and

future wage loss; physical pain and suffering, both past and future; mental anguish and emotional

distress, both past and future.

       26.      This cause of action is based entirely on the contention that Defendant Smith &

Nephew violated federal safety statutes and regulations. Plaintiff does not bring the underlying

action as an implied statutory cause of action, but rather he is pursuing parallel state common law

claims based upon Defendant Smith & Nephew’s violations of the applicable federal regulations.




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       27.      Under Georgia law, Defendant, Smith & Nephew’s violations of the aforementioned

federal statutes and regulations establish a prima facie case of negligence.

       28.      Thus, under Georgia common law, a money damages remedy exists for violation of

the Act and regulations promulgated thereunder which results in an unreasonably dangerous product

proximately causing injuries, and there is no need for the Georgia Legislature to act in order to create

such a remedy.

       29.      The Act contains an express preemption provision, 21 U.S.C. §360(k), which in

relevant part states: “no state or political subdivision of a state may establish or continue in effect

with respect to a device intended for human use any requirement –(1) which is different from, or in

addition to, any requirement applicable under this Act [21 USCS §§301, et seq.] to the device, and

(2) which relates to the safety or effectiveness of the device or to any other matter included in a

requirement applicable to the device under this Act [21 USCS §§301, et seq.].”

       30.      The cause of action set forth in this Claim for Relief is not preempted by 21 U.S.C.

§306(k) because the violations alleged are all based on an exclusively federal statutory and

regulatory set of requirements which include no “requirement which is different from, or in addition

to, any requirement applicable under” the Act and regulations promulgated thereunder. See; Bausch

v. Stryker, 630 F.3d 546, 556 (7th Cir. 2010) (claims for negligence and strict products liability

relating to a Class III medical device were not expressly preempted by federal law to the extent they

were based on the defendants’ violations of federal law). As such, the claims set forth herein contain

requirements that are parallel to the Act and regulations promulgated thereunder.

       31.      As a direct and proximate result of Defendant Smith & Nephew’s aforementioned

actions, Plaintiff Ronald Cox prays for judgment against Defendant Smith & Nephew, Inc. in an

amount in excess of Seventy-Five Thousand Dollars ($75,000.00).

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                                 THIRD CLAIM FOR RELIEF

                 STRICT PRODUCTS LIABILITY BASED ON VIOLATIONS OF
                   21 U.S.C. §360e; 21 U.S.C. §352(q) and (r); 21 C.F.R. §814.39

       32.     Plaintiffs herein incorporate, reassert and reallege the allegations set forth above in

paragraphs 1-31 by reference as if fully set forth herein below.

       33.     On December 17, 2007, when Plaintiff Ronald Cox underwent a total right hip

arthroplasty, the Defendant’s BHR acetabular component was implanted with Defendant’s Synergy

Porous High Offset Femoral Component, Modular Head Sleeve and Modular Femoral Head. All but

the BHR acetabular component are Class II devices designed and/or manufactured by Defendant

Smith & Nephew, Inc. and placed into the interstate stream of commerce.

       34.     The decision to implant Defendant’s BHR acetabular component with Defendant’s

Synergy Femoral Stem, Modular Head and Modular Sleeve was based on specific express and

implied representations made by Defendant Smith & Nephew to Plaintiff Ronald Cox’s surgeon and

others, including:

       a.      Marketing materials such as the Smith & Nephew Birmingham Hip
               Resurfacing System “Metal-on-Metal: Questions & Answers” that expressly
               states, “If the acetabular component is well positioned, well fixed and
               undamaged it is totally acceptable to leave the cup in-situ;”

       b.      Smith & Nephew training provided to Plaintiff Ronald Cox’s surgeon and his
               dealings with Smith & Nephew’s sales representative that led him to
               understand that it was permissible to use Defendant’s Synergy Porous High
               Offset Femoral Component, Modular Head Sleeve and Modular Femoral
               Head with Defendant’s BHR acetabular component;

       c.      Smith & Nephew training courses attended by Plaintiff Ronald Cox’s
               surgeon that included written materials and instructional videos that did not
               advise him that it was not permissible to use Defendant’s Synergy Porous
               High Offset Femoral Component, Modular Head Sleeve and Modular
               Femoral Head with Defendant’s BHR acetabular component;




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       d.      Defendant Smith & Nephew’s sales representative’s conduct of bringing
               Defendant’s Synergy Porous High Offset Femoral Component, Modular
               Head Sleeve and Modular Femoral Head to total hip arthroplasty and revision
               procedures on other patients of Ronald Cox’s surgeon to be available for use
               leading him to believe that they were safe to use together;

       e.      Defendant Smith & Nephew’s representative’s conduct of bringing
               Defendant’s Synergy Porous High Offset Femoral Component, Modular
               Head Sleeve and Modular Femoral Head to Plaintiff Ronald Cox’s total hip
               arthroplasty surgery on December 17, 2007, and without telling his surgeon
               that said Class II components could not be safely used with the BHR
               acetabular component; and/or

       f.      The fact that if Defendant Smith & Nephew’s sales representatives had told
               Plaintiff Ronald Cox’s surgeon that the Smith & Nephew BHR acetabular
               component could not be used with the Synergy Femoral Stem, Modular
               Femoral Head and Modular Head Sleeve and that the BHR acetabular
               component could only be used with the BHR femoral head and that such use
               was in violation of the PreMarket Approval granted by the FDA, his surgeon
               would have never used Smith & Nephew’s BHR acetabular component in
               Plaintiff’s total hip arthroplasty of December 17, 2007.

       35.     Defendant Smith & Nephew’s marketing, distribution, training and/or permitted use

of its Synergy Porous High Offset Femoral Component, Modular Head Sleeve and Modular Femoral

Head with its BHR acetabular cup violate the Act, the regulations promulgated to it and the

PreMarket Approval Order granted/issued by the FDA. Specifically, the conduct of its sales

representatives, including the training it provided to surgeons such as Ronald Cox’s surgeon, and its

marketing materials resulted in Plaintiff’s surgeon using an unreasonably dangerous device in

Plaintiff and a combination of devices which were not approved by the FDA to be used in

conjunction with one another.

       36.     Defendant Smith & Nephew’s marketing, distribution, training and/or permitted use

of its Modular Femoral Head with its BHR acetabular cup also violates, among other things, the

Modular Femoral Head’s 510(k) approval by the FDA because the Modular Femoral Heads were

only approved for articulation against the natural acetabulum as the intended use, not in combination

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with an artificial acetabular cup like the BHR.

       37.     It was the duty of Defendant Smith & Nephew, Inc. to comply with the Act, the

regulations promulgated pursuant to it, and the PreMarket Approval Order granted/issued by the

FDA, yet, notwithstanding this duty, Defendant Smith & Nephew violated the Act and the

PreMarket Approval Order in one or more of the following ways, as evidenced by the conduct

described above, among other conduct:

       a.      Failed to submit a PMA supplement for review and approval by the FDA. 21
               C.F.R.§814.39;

       b.      Defendant Smith & Nephew sold, distributed and permitted use of its devices
               in violation of the regulations prescribed under 21 U.S.C. §360j(e). 21 U.S.C.
               § 352(q);

       c.      Failed to restrict the use of the BHR acetabular cup with the BHR femoral
               head. 21 U.S.C. §352(r);

       d.      Failed to comply with the requirements of 21 U.S.C. §§§ 360h, 360i, and
               360l;

       e.      Failed to implement a proper training course for surgeons using the BHR
               system as required by the PreMarket Approval Order and in violation of the
               Act;

       f.      Failed to properly train surgeons using Defendant’s BHR system on the
               permitted use of the BHR system and its respective component parts and
               failed to properly train and/or instruct surgeons on what products/devices
               surgeons could and/or could not use in a total hip arthroplasty; and/or

       g.      Failed to, among other things, properly train and instruct surgeons on the
               proper and intended use of the Modular Femoral Head and otherwise comply
               with the FDA’s 510k.

       38.     As a direct and proximate result of Defendant Smith & Nephew’s improper training

and marketing to U.S. surgeons on the implantation of the BHR cup with its Modular Femoral Head

and Modular Head Sleeve and Synergy Femoral Stem in violation of one or more of these federal

statutory and regulatory standards, an unreasonably dangerous BHR acetabular cup and an

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unreasonably dangerous combination of Smith & Nephew products (Modular Femoral Head,

Modular Head Sleeve and Synergy Femoral Stem) which were not approved for use with one

another, were implanted in Plaintiff Ronald Cox and failed. Such failure directly caused and/or

contributed to the severe and permanent injuries sustained and endured by Plaintiff Ronald Cox, as

defined in 21 C.F.R. 803.3. As a direct result of the aforementioned conduct of Defendant Smith &

Nephew, Plaintiff Ronald Cox endured pain and suffering, including, but not limited to,

pseudotumor formation, chronic and debilitating right hip pain, toxic blood levels of cobalt and

chromium, additional and debilitating surgeries, significant past and future medical; both past and

future wage loss; physical pain and suffering, both past and future; mental anguish and emotional

distress, both past and future.

        39.     This cause of action is based entirely on the contention that Defendant Smith &

Nephew violated federal safety statutes and regulations. Plaintiff does not bring the underlying

action as an implied statutory cause of action, but rather he is pursuing parallel state common law

claims based upon Defendant Smith & Nephew’s violations of the applicable federal regulations.

        40.     Under Georgia law, Defendant, Smith & Nephew’s violations of the aforementioned

federal statutes and regulations establish a prima facie case of strict liability in tort.

        41.     Thus, under Georgia common law, a money damages remedy exists for violation of

the Act and regulations promulgated thereunder which results in an unreasonably dangerous product

proximately causing injuries, and there is no need for the Georgia Legislature to act in order to create

such a remedy.

        42.     The Act contains an express preemption provision, 21 U.S.C. §360(k), which in

relevant part states: “no state or political subdivision of a state may establish or continue in effect

with respect to a device intended for human use any requirement – (1) which is different from, or in

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addition to, any requirement applicable under this Act [21 USCS §§301, et seq.] to the device, and

(2) which relates to the safety or effectiveness of the device or to any other matter included in a

requirement applicable to the device under this Act [21 USCS §§301, et seq.].”

       43.     The cause of action set forth in this Claim for Relief is not preempted by 21 U.S.C.

§306(k) because the violations alleged are all based on an exclusively federal statutory and

regulatory set of requirements which include no “requirement which is different from, or in addition

to, any requirement applicable under” the Act and regulations promulgated thereunder. See; Bausch

v. Stryker, 630 F.3d 546, 556 (7th Cir. 2010) (claims for negligence and strict products liability

relating to a Class III medical device were not expressly preempted by federal law to the extent they

were based on the defendants’ violations of federal law). As such, the claims set forth herein contain

requirements that are parallel to the Act and regulations promulgated thereunder.

       44.     As a direct and proximate result of Defendant Smith & Nephew’s aforementioned

actions, Plaintiff Ronald Cox prays for judgment against Defendant Smith & Nephew in an amount

in excess of Seventy-Five Thousand Dollars ($75,000.00).

                                FOURTH CLAIM FOR RELIEF

                      NEGLIGENCE BASED ON VIOLATIONS OF
  21 U.S.C. §360e; 21 U.S.C. §360e and 21 C.F.R. §814.39 and GA Code §10-1-372 (2016);
                         §10-1-420; §10-1-421(a) and §10-1-399(a)

       45.     Plaintiffs herein incorporate, reassert and reallege the allegations set forth above in

paragraphs 1-44 by reference as if fully set forth herein below.

       46.     On December 17, 2007, when Plaintiff Ronald Cox underwent a total right hip

arthroplasty, the Defendant’s BHR acetabular component was implanted with Defendant’s Synergy

Porous High Offset Femoral Component, Modular Head Sleeve and Modular Femoral Head. All but

the BHR acetabular component are Class II devices designed and/or manufactured by Defendant

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Smith & Nephew and placed into the interstate stream of commerce.

       47.      The decision to implant Defendant’s BHR acetabular component with Defendant’s

Synergy Femoral Stem, Modular Head and Modular Sleeve was based on specific express and

implied representations made by Defendant Smith & Nephew to Plaintiff Ronald Cox’s surgeon and

others, including:

        a.      Marketing materials such as the Smith & Nephew Birmingham Hip
                Resurfacing System Metal-on-Metal: Questions & Answers” that expressly
                states, “If the acetabular component is well positioned, well fixed and
                undamaged it is totally acceptable to leave the cup in-situ;”

       b.       Smith & Nephew training provided to Plaintiff Ronald Cox’s surgeon and his
                dealings with Smith & Nephew’s sales representatives that led him to
                understand that it was permissible to use Defendant’s Synergy Porous High
                Offset Femoral Component, Modular Head Sleeve and Modular Femoral
                Head with Defendant’s BHR acetabular component;

       c.       Smith & Nephew training courses attended by Plaintiff Ronald Cox’s
                surgeon that included written materials and instructional videos that did not
                advise him that it was not permissible to use Defendant’s Synergy Porous
                High Offset Femoral Component, Modular Head Sleeve and Modular
                Femoral Head with Defendant’s BHR acetabular component;

       d.       Defendant Smith & Nephew’s sales representative’s conduct of always
                bringing Defendant’s Synergy Porous High Offset Femoral Component,
                Modular Head Sleeve and Modular Femoral Head to total hip arthroplasty
                and revision procedures on other patients of Plaintiff Ronald Cox’s surgeon
                to be available for use leading him to believe that they were safe to use
                together;

       e.       Defendant Smith & Nephew’s representative’s conduct of bringing
                Defendant’s Synergy Porous High Offset Femoral Component, Modular
                Head Sleeve and Modular Femoral Head to Plaintiff Ronald Cox’s total hip
                arthroplasty surgery on December 17, 2007, and without telling Plaintiff’s
                surgeon that said Class II components could not be safely used with the BHR
                acetabular component; and/or

       f.       The fact that if Defendant Smith & Nephew’s sales representatives had told
                Plaintiff Ronald Cox’s surgeon that the Smith & Nephew BHR acetabular
                component could not be used with the Synergy Femoral Stem, Modular
                Femoral Head and Modular Head Sleeve and that the BHR acetabular
                component could only be used with the BHR femoral head and that such use

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               was in violation of the PreMarket Approval granted by the FDA, Plaintiff’s
               surgeon would have never used Smith & Nephew’s BHR acetabular
               component in Plaintiff’s total hip arthroplasty of December 17, 2007.

       48.     Defendant Smith & Nephew’s marketing, distribution and/or permitted use of its

Synergy Porous High Offset Femoral Component, Modular Head Sleeve and Modular Femoral Head

with its BHR acetabular cup was in violation of the Act and regulations promulgated to it, and the

laws of the State of Georgia. Specifically, the conduct of its sales representatives, the training it

provided to surgeons such as Plaintiff Ronald Cox’s, and its marketing materials resulted in

Plaintiff’s surgeon using an unreasonably dangerous device in Plaintiff.

       49.     It was the duty of Defendant Smith & Nephew to comply with the Act, and the

regulations promulgated pursuant to it, yet, notwithstanding this duty, Defendant Smith & Nephew

violated the Act in one or more of the following ways, as evidenced by the conduct described above,

among other ways:

       a.      Failed to submit a PMA supplement for review and approval by the FDA. 21
               C.F.R. §814.39;

       b.      Defendant Smith & Nephew sold, distributed and permitted use of its devices
               in violation of the regulations prescribed under 21 U.S.C. §360j(e). 21 U.S.C.
               § 352(q);

       c.      Failed to restrict the use of the BHR acetabular cup with the BHR femoral
               head. 21 U.S.C. §352(r); and

       d.      Failed to comply with the requirements of 21 U.S.C. §§§ 360h, 360i, and
               360l.

       50.     It was the duty of Defendant Smith & Nephew, Inc. to comply with the laws of the

State of Georgia, yet, notwithstanding this duty, Defendant violated O.C.G.A. §§ 10-1-372, 10-1-

399(a), 10-1-420, and 10-1-421(a) in one or more of the following ways, as evidenced by the

conduct described above, among other ways:



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       a.      Defendant represented that the subject components were approved for use with one
               another;

       b.      Defendant caused misunderstaning as to the approval and/or certification of the
               subject components with one another;

       c.      Defendant represented that the subject components had constituent materials that
               were approved for use with one another;

       d.      Defendant represented that the subject components were of a particular standard,
               quality and/or grade and they were not; and/or

       e.      Defendant engaged in false and misleading conduct which led U.S. surgeons to
               believe and understand that the subject components were safe, effective, permitted
               and intended to be used with one another when they were not and with the
               knowledge that the use of the subject components together would lead to serious
               injury and/or harm to patients in which they were used.

    51.        In addition to the above stated claims, Defendant Smith & Nephew’s marketing,

distribution, training and/or permitted use of its Modular Femoral Head with its BHR acetabular cup

also violates, among other things, the Modular Femoral Head’s 510(k) approval by the FDA because

the Modular Femoral Heads were only approved for articulation against the natural acetabulum as

the intended use, not in combination with an artificial acetabular cup like the BHR. For example,

Defendant Smith & Nephew was negligent in failing to, among other things, properly train and

instruct surgeons on the proper and intended use of the Modular Femoral Head and otherwise

comply with the FDA’s 510k.

       52.     As a direct and proximate result of Defendant Smith & Nephew’s improper training

and marketing to U.S. surgeons on the implantation of the BHR cup with its Modular Femoral Head

and Modular Head Sleeve and Synergy Femoral Stem in violation of one or more of these federal

statutory and regulatory standards and the laws of the State of Georgia, an unreasonably dangerous

BHR acetabular cup and an unreasonably dangerous combination of Smith & Nephew products

(Modular Femoral Head, Modular Head Sleeve and Synergy Femoral Stem) which were not

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approved for use with one another, were implanted in Plaintiff Ronald Cox and failed, and such

failure directly caused and/or contributed to the severe and permanent injuries sustained and endured

by Plaintiff Ronald Cox, as defined in 21 C.F.R. 803.3. As a direct result of the aforementioned

conduct of Defendant Smith & Nephew, Plaintiff Ronald Cox endured pain and suffering, including,

but not limited to, pseudotumor formation, chronic and debilitating right hip pain, toxic blood levels

of cobalt and chromium, additional and debilitating surgery, significant past and future medical

expense; both past and future wage loss; physical pain and suffering, both past and future; mental

anguish and emotional distress, both past and future.

       53.     This cause of action is based entirely on the contention that Defendant, Smith &

Nephew violated federal safety statutes and regulations and the laws of the State of Georgia. Plaintiff

does not bring the underlying action as an implied statutory cause of action, but rather he is pursuing

parallel state common law claims based upon Defendant Smith & Nephew’s violations of the

applicable federal regulations.

       54.     Under Georgia law, Defendant Smith & Nephew’s violations of the aforementioned

federal statutes and regulations establish a prima facie case of negligence. See O.C.G.A. §§ 10-1-

372, 10-1-399(a), 10-1-420, and 10-1-421(a).

       55.     Thus, under Georgia common law, and pursuant to O.C.G.A. §§ 10-1-372, 10-1-

399(a),10-1-420, and 10-1-421(a), a money damages remedy exists for violation of the Act and

regulations promulgated thereunder which results in an unreasonably dangerous product proximately

causing injuries, and there is no need for the Georgia Legislature to act in order to create such a

remedy.

       56.     The Act contains an express preemption provision, 21 U.S.C. §360(k), which in

relevant part states: “no state or political subdivision of a state may establish or continue in effect

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with respect to a device intended for human use any requirement –(1) which is different from, or in

addition to, any requirement applicable under this Act [21 USCS §§301, et seq.] to the device, and

(2) which relates to the safety or effectiveness of the device or to any other matter included in a

requirement applicable to the device under this Act [21 USCS §§301, et seq.].”

       57.     The cause of action set forth in this Claim for Relief is not preempted by 21 U.S.C.

§306(k) because the violations alleged are all based on an exclusively federal statutory and

regulatory set of requirements which include no “requirement which is different from, or in addition

to, any requirement applicable under” the Act and regulations promulgated thereunder. See; Bausch

v. Stryker, 630 F.3d 546, 556 (7th Cir. 2010) (claims for negligence and strict products liability

relating to a Class III medical device were not expressly preempted by federal law to the extent they

were based on the defendants’ violations of federal law). As such, the claims set forth herein contain

requirements that are parallel to the Act and regulations promulgated thereunder.

       58.     As a direct and proximate result of Defendant Smith & Nephew’s aforementioned

actions, Plaintiff Ronald Cox prays for judgment against Defendant Smith & Nephew in an amount

in excess of Seventy-Five Thousand Dollars ($75,000.00).

                                    FIFTH CLAIM FOR RELIEF

      STATE LAW AND COMMON LAW CLAIMS OF STRICT LIABILITY AND
                  NEGLIGENCE FOR CLASS II DEVICES

       59.     Plaintiffs herein incorporate, reassert and reallege the allegations set forth above in

paragraphs 1-58 by reference as if fully set forth herein below.

       60.     The Synergy Porous High Offset Femoral Component, Modular Head Sleeve and

Modular Femoral Head that were implanted in Plaintiff Ronald Cox on December 17, 2007 were

designed, manufactured and distributed by Defendant Smith & Nephew and placed into the stream of



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interstate commerce, including the state of Georgia, by Defendant. Said components were defective

in design and/or manufacture. Said defects existed when the components left the hands of

Defendant, making the components unreasonably dangerous beyond the contemplation of the

ordinary user. Defendant is therefore strictly liable to Plaintiff under the doctrine of manufacturers'

products liability.

        61.     Defendant Smith & Nephew further breached applicable implied and express

warranties, including warranties of merchantability and fitness for a particular purpose. Further,

Defendant Smith & Nephew failed to provide appropriate warnings regarding the potential dangers

associated with the use of said components, including warnings regarding the risk of a failure such as

was experienced by Plaintiff.

        62.     As a direct and proximate result of the design and/or manufacturing defects, failure to

warn, and breach of express and implied warranties related to Defendant’s Synergy Porous High

Offset Femoral Component, Modular Head Sleeve and Modular Femoral Head designed,

manufactured, distributed, sold and/or placed into the stream of commerce by the Defendant,

Plaintiff suffered severe and permanent injuries, including, but not limited to pseudotumor

formation, chronic and debilitating right hip pain, toxic blood levels of cobalt and chromium,

additional and debilitating surgeries, significant past and future medical; both past and future wage

loss; physical pain and suffering, both past and future; mental anguish and emotional distress, both

past and future; and has been damaged in an amount in excess of Seventy-Five Thousand Dollars

($75,000.00).

        63.     As a direct and proximate result of the willful, wanton, intentional acts, reckless

and/or the willful, wanton, intentional acts, reckless and/or the willful, wanton, intentional and

reckless failures to act by Defendant Smith & Nephew, Plaintiff Ronald Cox suffered the aforesaid

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damages and, as such, Plaintiff demands that punitive damages be awarded against Defendant Smith

& Nephew.

                                  SIXTH CLAIM FOR RELIEF

                                     LOSS OF CONSORTIUM

         64.    Plaintiffs herein incorporate, reassert and reallege the allegations set forth above in

paragraphs 1-63 by reference as if fully set forth herein below.

         65.    At all times relevant to this Complaint, Plaintiff Rebecca Cox has been the lawful

wife of Plaintiff Ronald Cox.

         66.    As the proximate result of Defendant Smith & Nephew’s actions and/or omissions,

Plaintiff Rebecca Cox has been deprived of the society, companionship, services, and consortium of

her husband, Plaintiff Ronald Cox, thereby entitling her to damages to be determined by a jury of her

peers.

         WHEREFORE, Plaintiffs Ronald Cox and Rebecca Cox pray that this Court enter judgment

against the Defendant in an amount in excess of Seventy-Five Thousand Dollars ($75,000.00),

together with interest and costs of this action, and for such further relief as this Court deems just and

reasonable.

         PLAINTIFF DEMANDS A TRIAL BY JURY

         August 24, 2017                        Respectfully submitted,

                                                /s/ R. Paul Hart
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